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 3                                                            THE HONORABLE __________
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12                              UNITED STATES DISTRICT COURT
13                             WESTERN DISTRICT OF WASHINGTON
14                                       AT SEATTLE
15
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17    DOMAIN NAME COMMISSION                      No. 2:18-cv-874
18    LIMITED,
19                                                DOMAIN NAME COMMISSION
20                           Plaintiff,           LIMITED’S MOTION FOR PRELIMINARY
21                                                INJUNCTION
22             v.
23                                                NOTE ON MOTION CALENDAR:
24    DOMAINTOOLS, LLC                            Friday, July 13, 2018
25
26                           Defendant.           ORAL ARGUMENT REQUESTED
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     DNCL’S MOTION FOR PRELIMINARY                                         Perkins Coie LLP
     INJUNCTION (NO. 2:18-CV-874)                                    1201 Third Avenue, Suite 4800
                                                                       Seattle, WA 98101-3099
     139655561.8
                                                                         Phone: 206.359.8000
                                                                          Fax: 206.359.9000
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     DNCL’S MOTION FOR PRELIMINARY                                                                                  Perkins Coie LLP
     INJUNCTION (NO. 2:18-CV-874) – i                                                                         1201 Third Avenue, Suite 4800
                                                                                                                Seattle, WA 98101-3099
     139655561.8
                                                                                                                  Phone: 206.359.8000
                                                                                                                   Fax: 206.359.9000
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     INJUNCTION (NO. 2:18-CV-874) – ii                                                                        1201 Third Avenue, Suite 4800
                                                                                                                Seattle, WA 98101-3099
     139655561.8
                                                                                                                  Phone: 206.359.8000
                                                                                                                   Fax: 206.359.9000
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     INJUNCTION NO. (2:18-CV-874) – iii                                                                         1201 Third Avenue, Suite 4800
                                                                                                                  Seattle, WA 98101-3099
     139655561.8
                                                                                                                    Phone: 206.359.8000
                                                                                                                     Fax: 206.359.9000
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     INJUNCTION NO. (2:18-CV-874) – iv                                                                            1201 Third Avenue, Suite 4800
                                                                                                                    Seattle, WA 98101-3099
     139655561.8
                                                                                                                      Phone: 206.359.8000
                                                                                                                       Fax: 206.359.9000
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     INJUNCTION NO. (2:18-CV-874) – v                                                                             1201 Third Avenue, Suite 4800
                                                                                                                    Seattle, WA 98101-3099
     139655561.8
                                                                                                                      Phone: 206.359.8000
                                                                                                                       Fax: 206.359.9000
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 1
 2                                        I.     INTRODUCTION
 3
 4            At issue in this case is the right of organizations who provide information online to define
 5
 6   and enforce the terms and conditions by which that information can be accessed and used.
 7
 8   Plaintiff Domain Name Commission Limited (“DNCL”) is a non-profit organization based in
 9
10   New Zealand. Its responsibilities include regulating the use of the .nz WHOIS service, which
11
12   responds to user queries by providing information about the registrants who license and use .nz
13
14   domain names. DNCL fulfills this responsibility by promulgating and enforcing the .nz WHOIS
15
16   Terms of Use (“TOU”), which are designed to control the dissemination of personal information
17
18   and protect the privacy of .nz registrants by ensuring that only current .nz WHOIS information
19
20   can be accessed and by preventing registrant details from being harvested in bulk.
21
22            Defendant DomainTools, LLC (“DomainTools”) engages in conduct that violates the
23
24   TOU so that it can sell .nz registrants’ personal information. The TOU prohibit “send[ing] high
25
26   volume WHOIS queries with the effect of downloading part or all of the .nz Register or
27
28   collecting register data or records” and “[s]toring or compil[ing] WHOIS data to build up a
29
30   secondary register of information.” Decl. of Brent Carey in Supp. of Mot. for Prelim. Inj.
31
32   (“Carey Decl.”) at Ex. 5. Yet DomainTools has compiled a database that, by its own admission,
33
34   is “unparalleled” in size and coverage—and thus could only have been created using high
35
36   volume queries. Decl. of Todd M. Hinnen in Supp. of Mot. for Prelim. Inj. (“Hinnen Decl.”) at
37
38   Ex. 1. The TOU also prohibit “publish[ing] historical or non-current versions of WHOIS data”
39
40   and “publish[ing] any WHOIS data in bulk.” Carey Decl. at Ex. 5. Yet DomainTools offers a
41
42   “Whois History” service allowing customers to access historical WHOIS records and a “Reverse
43
44   Whois” service allowing customers to search bulk records by keyword (i.e., by registrant name).
45
46            This conduct not only constitutes a willful, ongoing breach of the TOU, it also violates
47
48   the Computer Fraud and Abuse Act and the Washington Consumer Protection Act.
49
50            DomainTools’s publication in bulk and sale of .nz registrants’ personal information is
51
     irreparably harming DNCL’s reputation and goodwill by preventing DNCL from enforcing its
                                                                                       Perkins Coie LLP
     DNCL’S MOTION FOR PRELIMINARY                                                1201 Third Avenue, Suite 4900
     INJUNCTION (NO. 2:18-CV-874) – 1                                               Seattle, WA 98101-3099
                                                                                      Phone: 206.359.8000
     139655561.8                                                                       Fax: 206.359.9000
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 1   TOU, honoring its promises to .nz registrants, and protecting the privacy and safety of .nz
 2
 3   registrants. It is also diverting DNCL’s limited resources away from its organizational mission.
 4
 5            Finally, the balance of equities, as well as the public interest, weigh heavily in favor of
 6
 7   preliminary injunctive relief. DomainTools and its customers face the prospect of only minor
 8
 9   loss of profit and inconvenience if relief is granted. Conversely, if relief is not granted, DNCL
10
11   will be unable to offer its services in accordance with the TOU, unable to implement policies
12
13   supported by the people and businesses of New Zealand and other .nz registrants, and unable to
14
15   honor individual registrants’ choice to limit access to their personal information.
16
17            DNCL therefore moves this Court, pursuant to Federal Rule of Civil Procedure 65, for an
18
19   order preliminarily enjoining DomainTools from obtaining and using .nz WHOIS records in
20
21   violation of the TOU. Specifically, DNCL asks that DomainTools be enjoined from (1) accessing
22
23   the .nz Register at all so long as its limited license remains revoked; or, in the alternative,
24
25   sending automated, high-volume WHOIS queries and accessing the .nz Register in bulk in
26
27   violation of the TOU; (2) storing or compiling .nz WHOIS data in its own database;
28
29   (3) publishing information that has been withheld pursuant to the Individual Registrant Privacy
30
31   Option (“IRPO”); (4) publishing historical versions of .nz WHOIS data through its various
32
33   services; and (5) publishing .nz WHOIS data in bulk through its various services.
34
35                                    II.     STATEMENT OF FACTS
36
37   A.       Domain Name Background and Terminology
38
39            This case involves technical and administrative aspects of the Internet and website
40
41   registration. As such, this motion begins with a brief overview in the relevant terminology, using
42
43   DNCL’s own website as an illustrative example.
44
45            To access DNCL’s website, an Internet user would open a web browser and type
46
47   “http://www.dnc.org.nz” into the navigation bar. This quoted series of characters is called a
48
49   uniform resource locator, or URL. It is made up of several component parts that are relevant to
50
51   understanding the present dispute. Carey Decl. ¶ 8.

                                                                                           Perkins Coie LLP
                                                                                      1201 Third Avenue, Suite 4900
     DNCL’S MOTION FOR PRELIMINARY                                                      Seattle, WA 98101-3099
     INJUNCTION (NO. 2:18-CV-874) – 2                                                     Phone: 206.359.8000
                                                                                           Fax: 206.359.9000
     39655561.8
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 1            First, the URL contains a “domain name,” which is an easy-to-remember string of
 2
 3   characters that serves as a convenient alternative to a numerical IP address (the string of numbers
 4
 5   a server uses to route traffic on the Internet). In the URL “http://www.dnc.org.nz,” the domain
 6
 7   name is “dnc.org.nz.” An Internet user who continues to browse on DNCL’s website will be
 8
 9   directed to different URLs—for example, “http://www.dnc.org.nz/irpo”—but the domain name
10
11   for this new URL is still “dnc.org.nz.” Domain names can also be found in email addresses. Id.
12
13            Second, the domain name itself is split up into multiple pieces. Each piece is separated by
14
15   a period and is part of a hierarchical structure of domain name identifiers. The “top level”
16
17   domain (“TLD”) appears after the rightmost period; here, the “.nz” piece. Moreover, “.nz” is a
18
19   particular type of TLD, known as a country code top-level domain (or “ccTLD”), because it
20
21   indicates the country (here, New Zealand) that administers and sets policies regarding domain
22
23   name registration for a given website. Next comes “.org,” which is called a second-level domain.
24
25   Second-level domains indicate the core purpose of a website. For example, a “.org.nz” website
26
27   serves an organizational purpose. Finally, the “dnc” piece is called the domain “identifier,” and
28
29   is chosen by the individual or organization that registers and uses the domain name. Id. ¶ 9.
30
31            A nonprofit organization called the Internet Corporation for Assigned Names and
32
33   Numbers (“ICANN”) coordinates and maintains the Internet’s domains, including domain
34
35   names, ccTLDs, and TLDs. ICANN primarily operates by accrediting and imposing contractual
36
37   obligations on organizations known as domain “registries” and “registrars.” A domain registry
38
39   manages TLDs and their infrastructure by developing policy frameworks, creating domain name
40
41   extensions, and keeping the definitive register of domain names. A registrar issues licenses for
42
43   domains on behalf of domain registries to the individuals or organizations who want to use them.
44
45   Those individuals or organizations, in turn, are called “registrants.” Hinnen Decl. at Ex. 12.
46
47            Registrars and registries are required by their contracts with ICANN to operate a service
48
49   called WHOIS. This service allows users to search for a domain name to determine whether it is
50
51   currently in use and, if so, to obtain basic information about the individual or organization that

                                                                                         Perkins Coie LLP
                                                                                    1201 Third Avenue, Suite 4900
     DNCL’S MOTION FOR PRELIMINARY                                                    Seattle, WA 98101-3099
     INJUNCTION (NO. 2:18-CV-874) – 3                                                   Phone: 206.359.8000
                                                                                         Fax: 206.359.9000
     39655561.8
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 1   registered it. Specifically, it allows public access to “WHOIS information,” which typically
 2
 3   includes (1) information about the domain name (e.g., whether it is available or in use, the date it
 4
 5   was registered or last modified, its status, and its expiration); (2) information about the registrar
 6
 7   (e.g., its name and contact information); and (3) information about the registrant (e.g., the name
 8
 9   and contact information of the organization or individual currently using the domain name). Id.
10
11   B.       DNCL and the .nz WHOIS terms of use
12
13            DNCL is a nonprofit entity based in New Zealand. It was created and appointed by the
14
15   local ICANN-recognized registry, InternetNZ, as the sole authority for administration and
16
17   management of .nz domain names on behalf of the people and businesses of New Zealand and
18
19   other .nz registrants. DNCL’s organizational mission is to develop, monitor, and oversee a
20
21   competitive registrar market and to create a fair environment for the registration and
22
23   management of .nz domain names. Its functions include authorizing registrars to sell .nz domain
24
25   name licenses to the public, outlining the policies and conditions by which persons may register
26
27   domain names, and regulating the use of the .nz domain name space. Carey Decl. ¶¶ 3-7.
28
29            The public can extract WHOIS data from the .nz register via three avenues: (1) the
30
31   DNCL website; (2) the .nz Port 43 service; and (3) registrars who have special access to the
32
33   Query Service via SRS xml or EPP xml lookups (these are authenticated requests made against
34
35   registry systems which only authorized .nz registrars can use). Importantly, although nz WHOIS
36
37   information is available through other sources like registrars or third-parties like DomainTools,
38
39   those sources must ultimately use one of these three avenues. Id. ¶ 16.
40
41            When the results of a Query Service search are provided through DNCL’s website or
42
43   Port 43, the TOU are consistently displayed and inform users that they are authorized to use the
44
45   .nz WHOIS service only if they comply with the requirements of the TOU. Id. ¶¶ 21-23.
46
47            The TOU have always broadly prohibited users from “[u]sing multiple WHOIS queries,
48
49   or using the output of multiple WHOIS queries in conjunction with any other facility or service,
50
51

                                                                                          Perkins Coie LLP
                                                                                     1201 Third Avenue, Suite 4900
     DNCL’S MOTION FOR PRELIMINARY                                                     Seattle, WA 98101-3099
     INJUNCTION (NO. 2:18-CV-874) – 4                                                    Phone: 206.359.8000
                                                                                          Fax: 206.359.9000
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 1   to enable or effect a download of part or all of the .nz Register.” Id. at Ex. 6. But the TOU were
 2
 3   amended on June 26, 2016 to further clarify that users are prohibited from:
 4
 5
                         Send[ing] high volume WHOIS queries with the effect of
 6
                         downloading part of or all of the .nz Register or collecting
 7
                         register data or records;
 8
 9
                         Access[ing] the .nz Register in bulk through the WHOIS service
10
                         (ie. where a user is able to access WHOIS data other than by
11
                         sending individual queries to the database); . . .
12
13
                         ...
14
15
                         Stor[ing] or compil[ing] WHOIS data to build up a secondary
16
                         register of information;
17
18
                         Publish[ing] historical or non-current versions of WHOIS data;
19
                         and
20
21
                         Publish[ing] any WHOIS data in bulk.
22   Id. at Ex. 5.
23
24            Over time, registrants in New Zealand and around the world have become increasingly
25
26   concerned about publication of their personal information—especially their personal contact
27
28   information—through WHOIS services. DNCL has responded to these concerns with a two-
29
30   pronged approach. First, on November 28, 2017, based on extensive public input and support,
31
32   DNCL launched the IRPO, which was required to be implemented by all authorized .nz registrars
33
34   on March 28, 2018. The IRPO offers privacy protection for individual registrants who do not
35
36   conduct “significant trade” using their.nz domain names by allowing them to withhold their
37
38   detailed personal information, specifically their phone number and address, from publicly
39
40   available .nz WHOIS records. The IRPO is optional, but over 11,000 domain names have been
41
42   enrolled so far (about 2% of all registrations—including ineligible ones), and DNCL expects that
43
44   number to increase significantly as the option becomes more widely known. Id. ¶¶ 24-41, 53, 54.
45
46            Second, ever since mid-April of this year, detailed information about .nz registrants is no
47
48   longer offered through Port 43. This avenue now provides only limited information about the
49
50   domain itself—for example, whether the domain has been licensed or is available for use. This
51

                                                                                         Perkins Coie LLP
                                                                                    1201 Third Avenue, Suite 4900
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 1   drastic remedy is aimed to increase DNCL’s control over access and use of .nz WHOIS
 2
 3   registrant information, and to better protect New Zealand citizens and their personal information.
 4
 5   Even more specifically, it is meant to ensure that only current .nz WHOIS information can be
 6
 7   accessed; and to prevent registrant details from being harvested in bulk. Notably, by combining
 8
 9   the IRPO with strict enforcement of the TOU, DNCL empowers many .nz registrants to withhold
10
11   their personal contact information altogether because the information is neither presently
12
13   available nor re-creatable through historical records held by third parties. Id. ¶¶ 19-20.
14
15   C.       DomainTools and the present dispute.
16
17            Defendant DomainTools is a Delaware limited liability company based in Seattle,
18
19   Washington. DomainTools compiles and stores bulk WHOIS information from registries around
20
21   the world and sells that information to individual and enterprise customers through its various
22
23   research tools. Among these tools are Whois History, which allows customers to access
24
25   historical WHOIS records stored in a DomainTools database; Domain Reports, which allows
26
27   customers to simultaneously access all information DomainTools maintains about a particular
28
29   domain—including both current and all historical WHOIS records; and Reverse Whois, which
30
31   allows customers to search across WHOIS records stored in a DomainTools database and
32
33   identify records matching certain keywords—including keywords that identify individual
34
35   registrants. Id. at Exs. 2-6. DomainTools provides all of these services with respect to .nz domain
36
37   names. In addition, DomainTools offers a “Whois Lookup” tool, which the public can use to
38
39   obtain information about a particular domain name, including the full WHOIS record. Notably,
40
41   although DomainTools does not appear to make any other changes to the WHOIS record
42
43   obtained from DNCL, it strips the TOU out of the WHOIS record before displaying it in
44
45   response to a search for a .nz domain. Id. at Exs. 7-8.
46
47            On November 2, 2017, DNCL sent a letter demanding that DomainTools cease and desist
48
49   violating the TOU and infringing upon registrants’ privacy or face litigation for breach of
50
51   contract and violation of other laws. Although DNCL’s letter set a response deadline of

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 1   November 15, 2017, DomainTools requested several extensions, in part to discuss the possibility
 2
 3   of resolving this matter without litigation. On April 22, 2018, well after DomainTools sent its
 4
 5   February 7, 2018 response letter, DomainTools made clear that it would not agree to a settlement
 6
 7   that involved complying with the TOU and applicable laws. Hinnen Decl. at Exs. 13-14.
 8
 9            DNCL sent a final cease and desist letter on June 6, 2018, which revoked DomainTools’s
10
11   limited license to access the .nz WHOIS service. Id. at Ex. 15. When DomainTools continued to
12
13   access and sell .nz WHOIS records in violation of the TOU and applicable law, DNCL filed the
14
15   present lawsuit and this motion seeking preliminary injunctive relief.
16
17                                           III.    ARGUMENT
18
19   A.       DNCL is entitled to a preliminary injunction enjoining DomainTools’s unlawful
20            activities.
21
22            A party seeking a preliminary injunction “must establish that he is likely to succeed on
23
24   the merits, that he is likely to suffer irreparable harm in the absence of preliminary relief, that the
25
26   balance of equities tips in his favor, and that an injunction is in the public interest.” Winter v.
27
28   Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). In this case, a preliminary injunction is both
29
30   necessary and appropriate because (1) DNCL is likely to succeed on the merits of its claims;
31
32   (2) DNCL is currently suffering and will continue to suffer irreparable harm in the form of
33
34   damage to its reputation and goodwill and frustration of its organizational mission; (3) the
35
36   balance of equities tips sharply in favor of DNCL; and (4) the public interest favors issuance of
37
38   an injunction pending final resolution of this action.
39
40            1.      DNCL is likely to succeed on the merits of its claims.
41
42            The first Winter factor—likelihood of success on the merits—is generally considered the
43
44   “most important.” Garcia v. Google, Inc., 786 F.3d 733, 740 (9th Cir. 2015) (en banc). But a
45
46   plaintiff may still obtain a preliminary injunction even when success on the merits is unlikely if
47
48
49
50
51

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 1   there are “serious questions going to the merits,”1 “the ‘balance of hardships tips sharply in the
 2
 3   plaintiff’s favor,’ and the other two Winter factors are satisfied.” See All. For the Wild Rockies v.
 4
 5   Pena, 865 F.3d 1211, 1217 (9th Cir. 2017) (quoting Shell Offshore, Inc. v. Greenpeace, Inc., 709
 6
 7   F.3d 1281, 1291 (9th Cir. 2013)).
 8
 9            As shown by even the limited evidence available without discovery, DNCL is likely to
10
11   succeed on the merits of its claims or has at least raised serious questions concerning the merits.
12
13                    a.       DNCL is likely to succeed on its claim that DomainTools breached
14                             DNCL’s terms of use.
15
16            A claim for breach of contract requires showing “[1] the contract imposes a duty, [2] the
17
18   duty is breached, and [3] the breach proximately causes damage to the plaintiff.” Nw. Indep.
19
20   Forest Mfrs. v. Dep’t of Labor & Indus., 78 Wn. App. 707, 712 (1995).
21
22            First, DomainTools is bound by the duties imposed by the TOU. Whether there has been
23
24   mutual assent to an online contract, including terms of use governing an online service, typically
25
26   “depends on whether the user has actual or constructive knowledge of a website’s terms and
27
28   conditions,” particularly where the user is not required to take affirmative action (such as a click)
29
30   to agree to the terms. Nguyen v. Barnes & Noble Inc., 763 F.3d 1171, 1176 (9th Cir. 2014)
31
32   (quoting Van Tassell v. United Mktg. Grp., LLC, 795 F. Supp. 2d 770, 790 (N.D. Ill. 2011)).
33
34   Courts “have consistently enforced . . . agreements where the user had actual notice of the
35
36   agreement.” Id. And even where a user does not have actual notice, online terms of use are
37
38   generally enforced “when a user is encouraged by the design and content of the website and the
39
40   agreement’s webpage to examine the terms clearly available through hyperlinkage.” McKee v.
41
42   Audible, Inc., No. CV 17-1941-GW(Ex), 2017 WL 4685039, at *7 (C.D. Cal. July 17, 2017)
43
44   (quoting Berkson v. Gogo LLC, 97 F. Supp. 3d 359, 401 (E.D.N.Y. 2015)).
45
46
47
48
49            1
                “Serious questions” are questions that are “substantial, difficult and doubtful, as to make them a fair
50   ground for litigation and thus more deliberative investigation.” Senate of Cal. v. Mosbacher, 968 F.2d 974, 977-78
51   (9th Cir. 1992) (internal quotation marks and citation omitted).

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 1            Here, the TOU were contained in each and every response to the voluminous number of
 2
 3   .nz WHOIS queries that DomainTools has performed (and continues to perform), proving that
 4
 5   DomainTools had actual notice of the terms. Indeed, DomainTools takes efforts to strip the TOU
 6
 7   out of the “raw” .nz WHOIS records that it displays in response to queries through its “Whois
 8
 9   Lookup” tool. See Hinnen Decl. ¶¶ 7-8. Under these circumstances, it would defy credulity to
10
11   believe that DomainTools did not have actual notice of the TOU governing its use of the .nz
12
13   WHOIS service. That the TOU did not appear until after DomainTools submitted its query is of
14
15   no moment because DomainTools has been “submitting numerous queries, each of which
16
17   resulted in its receiving notice of the terms [DNCL] exacted,” and because the correspondence
18
19   between DNCL and DomainTools can leave no doubt that at least since November 2017
20
21   DomainTools “knew perfectly well what terms [DNCL] demanded.” Register.com, Inc. v. Verio,
22
23   Inc., 356 F.3d 393, 401 (2d Cir. 2004).
24
25            Second, even the pre-discovery evidence shows that DomainTools has violated and is
26
27   continuing to violate several of the TOU’s prohibitions. Courts have recognized that entities that
28
29   provide services online are entitled to set the terms of how others may permissibly use their
30
31   services. See, e.g., Register.com, 356 F.3d at 398-401 (holding that a registrar was entitled to
32
33   enforce restrictions on the use of WHOIS data as provided in its contractual terms); Ticketmaster
34
35   L.L.C. v. RMG Techs., Inc., 507 F. Supp. 2d 1096, 1113 (C.D. Cal. 2007) (holding that a plaintiff
36
37   was entitled to enforce restrictions on the use of automated devices to purchase tickets from its
38
39   website); Facebook, Inc. v. Power Ventures, Inc., No. C 08-5780 JF (RS), 2009 WL 1299698, at
40
41   *5 (N.D. Cal. May 11, 2009) (recognizing that a website was entitled to prohibit scraping
42
43   activities). This case is no different: DNCL is entitled to enforce the TOU that it specifically
44
45   designed to implement policies supported by members of the New Zealand online community
46
47   and to protect .nz registrants’ privacy and safety.
48
49            DomainTools has been and is continuing to obtain and use .nz WHOIS data in a manner
50
51   that violates at least four prohibitions in the TOU.

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 1            1.       DomainTools violates the prohibition against “Send[ing] high volume WHOIS
 2
 3   queries with the effect of downloading part or all of the .nz Register or collecting register data or
 4
 5   records” and “Access[ing] the .nz Register in bulk through the WHOIS service.” Carey Decl. at
 6
 7   Ex. 5. The size and scope of DomainTools’s internal database establishes that DomainTools must
 8
 9   have violated these provisions. DomainTools’s website indicates that it has database records
10
11   pertaining to around 94% of registered .nz domains, which comports with DomainTools’s claim
12
13   that it has “the world’s largest database of Whois . . . records.” Hinnen Decl. at Exs. 10-11. Such
14
15   an “unparalleled” secondary register could only be created through the use of high volume
16
17   WHOIS queries. Id. at Ex. 1. Preliminary investigation also suggests that DomainTools takes
18
19   steps to evade the technical protective measures that DNCL has established to prevent high
20
21   volume queries and bulk harvesting of .nz WHOIS data—including by using a distributed
22
23   network of IP addresses from all over the world. Carey Decl. ¶ 59. Indeed, DomainTools has
24
25   developed means of circumventing DNCL’s technical protective measures precisely so that it can
26
27   submit high-volume queries and access the register in bulk in violation of the TOU.2
28
29            2.       DomainTools violates the prohibition on “Stor[ing] or compil[ing] WHOIS data
30
31   to build up a secondary register of information” by creating its own database of .nz WHOIS
32
33   information and relying on that database to facilitate its services. Id. at Ex. 5. A “register” is “an
34
35   official list of the names of people, companies, etc.,” while a database is a “compilation of
36
37   information arranged in a systematic way and offering a means of finding specific elements it
38
39   contains, often today by electronic means.” Register, Database, Black’s Law Dictionary (10th
40
41   ed. 2014). A database that contains an official list of names and contact information is therefore
42
43   also a register. On its website, DomainTools states that its services rely on “records . . .
44
45   maintained in the DomainTools database.” Hinnen Decl. at Ex. 2. Thus, by its own admission,
46
47   DomainTools has compiled .nz WHOIS information in a secondary register.
48
49
50
51            2
                 Similarly, DomainTools “[u]s[ed] multiple WHOIS queries, or us[ed] the output of multiple WHOIS
     queries . . . to enable or effect a download of part or all of the .nz Register,” per the earlier TOU. Id. at Ex. 6.
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 1            3.      DomainTools violates the prohibition on “Publish[ing] historical or non-current
 2
 3   versions of WHOIS data,” Carey Decl. at Ex. 5, by providing the Whois History tool which, in
 4
 5   its own words, “allows DomainTools’s members access to historical Whois records” that
 6
 7   “DomainTools has been tracking” since 1995, Hinnen Decl. at Ex 2. This unauthorized service
 8
 9   allows any member of the public to obtain historical and non-current WHOIS data by becoming
10
11   a DomainTools subscription member or ordering a Domain Report for $49. Id. at Ex 5.
12
13            4.      DomainTools violates the prohibition on “Publish[ing] any WHOIS data in bulk”
14
15   by selling to its customers access to substantially all of the .nz WHOIS records that it has
16
17   accumulated over the last twenty years and allowing them via its Reverse Whois service to
18
19   search these records in bulk. Carey Decl. at Ex. 5. Neither the Whois History and Reverse Whois
20
21   services would be possible if DomainTools had not submitted high-volume queries, downloaded
22
23   all or a substantial portion of the register, compiled a secondary register, and published in bulk
24
25   that register of non-current versions of WHOIS data to customers so that customers could run
26
27   tools like Whois History and Reverse Whois against it. Carey Decl. ¶ 59.
28
29            Third, DomainTools’s conduct proximately causes ongoing and irreparable harm to
30
31   DNCL. As explained in greater detail below, DomainTools is harming DNCL’s reputation and
32
33   goodwill by providing services that undermine the measures .nz registrants have requested and
34
35   DNCL has implemented to control dissemination of personal WHOIS information and protect
36
37   the privacy of .nz registrants. DomainTools is also diverting internal resources, and thus
38
39   frustrating DNCL’s organizational mission. For example, DNCL’s engineers are forced to spend
40
41   time trying to detect and prevent DomainTools’s unauthorized access to and use of WHOIS
42
43   services when they could otherwise spend that time serving .nz registrants and improving the
44
45   DNCL website. Finally, this irreparable harm is in addition to the ongoing harm to the .nz
46
47   WHOIS service that is caused by DomainTools’s repetitive queries consuming a significant
48
49   portion of the capacity of the .nz WHOIS computer systems. Id. ¶¶ 61-73.
50
51                                                  *****

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 1            For these reasons, DNCL is likely to succeed on its claim that DomainTools is breaching
 2
 3   the TOU by (1) sending automated, high-volume WHOIS queries and accessing the .nz Register
 4
 5   in bulk; (2) storing and compiling .nz WHOIS data in its own database; (3) publishing
 6
 7   information that has been withheld pursuant to the IRPO; (4) publishing historical versions of .nz
 8
 9   WHOIS data; and (5) publishing .nz WHOIS data in bulk.
10
11                    b.    DNCL is likely to succeed on its claim that DomainTools violated the
12                          Computer Fraud and Abuse Act.
13
14            A private party may bring a claim against another private party under the Computer
15
16   Fraud and Abuse Act (“CFAA”) if the plaintiff has “suffer[ed] damage or loss” from the
17
18   violation aggregating to at least $5,000 in value, and the defendant has “intentionally access[ed]
19
20   a computer without authorization or exceeds authorized access and thereby obtain[ed] . . .
21
22   information from any protected computer.” 18 U.S.C. §§ 1030(a)(2), 1030(g). This language
23
24   “target[s] the unauthorized procurement or alteration of information, not its misuse or
25
26   misappropriation.” United States v. Nosal, 676 F.3d 854, 863 (9th Cir. 2012) (quoting Shamrock
27
28   Foods Co. v. Gast, 535 F. Supp. 2d 962, 965 (D. Ariz. 2008)).
29
30            Here, DNCL has never authorized DomainTools to access the .nz registry in the way it
31
32   has—instead, DNCL has consistently forbidden DomainTools’s conduct through its TOU. In
33
34   November 2017, DNCL sent a cease and desist letter notifying DomainTools that it was
35
36   accessing the registry without authorization and in violation of the express terms of the TOU.
37
38   When DomainTools failed to heed this warning, on June 6, 2018, DNCL revoked even its limited
39
40   license to access the registry. In other words, DomainTools’s access to the registry in violation of
41
42   the TOU has always been unauthorized; and now DomainTools is not authorized to access the
43
44   registry at all. See, e.g., Facebook, Inc. v. Power Ventures, Inc., 844 F.3d 1058, 1067 (9th Cir.
45
46   2016) (“[A] defendant can run afoul of the CFAA when . . . permission has been revoked
47
48   explicitly.”), cert denied, 138 S. Ct. 313 (2017); see also Ticketmaster L.L.C. v. Prestige Entm’t,
49
50   Inc., __ F. Supp. 3d __, No. 2:17-CV-07232 ODW (JCx), 2018 WL 654410, at *6 (C.D. Cal.
51
     Jan. 31, 2018) (dismissing plaintiff’s CFAA claims because plaintiff “ha[d] not shown that it
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                                                                                   1201 Third Avenue, Suite 4900
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 1   rescinded permission from Defendants to use its website” so its claims were based entirely on the
 2
 3   TOU). Yet DomainTools continues to access the registry without authorization—even going so
 4
 5   far as to employ technical measures to evade IP-blocking (and IP-rate limiting). Compare
 6
 7   Craigslist Inc. v. 3Taps Inc., 942 F. Supp. 2d 962, 969-70 (N.D. Cal. 2013) (finding
 8
 9   unauthorized access where defendants ignored cease and desist letters and evaded technological-
10
11   blocking measures), with hiQ Labs, Inc. v. LinkedIn Corp., 273 F. Supp. 3d 1099, 1113 (N.D.
12
13   Cal. 2017) (justifying its conclusion that the CFAA may not be implicated on the grounds that a
14
15   website could employ effective “anti-bot measures to prevent . . . harmful intrusions”), appeal
16
17   docketed, No. 17-16783 (9th Cir. Sept. 6, 2017).
18
19            DomainTools’s unlawful conduct has caused DNCL to suffer losses exceeding $5,000
20
21   over a one-year period. See 18 U.S.C. § 1030(e)(11) (defining “loss” to mean “any reasonable
22
23   cost to any victim, including the cost of responding to an offense, conducting a damage
24
25   assessment, and restoring the data, program, system, or information to its condition prior to the
26
27   offense, and any revenue lost, cost incurred, or other consequential damages incurred because of
28
29   interruption of service”). DNCL estimates that its employees have spent in excess of 320 hours
30
31   analyzing, investigating, and responding to DomainTools’s actions over the past year. Cf, e.g.,
32
33   Facebook, 844 F.3d at 1066 (finding plaintiff suffered “loss” due to the “many hours” employees
34
35   spent “analyzing, investigating, and responding to [defendant]’s actions,” even where there was
36
37   no interruption in service). Because DNCL employees are paid, on average, around $139 USD
38
39   per hour, this cost alone easily surpasses the statutory threshold—amounting to over $44,500.
40
41   Carey Decl. ¶¶ 63-73. Additionally, each query to the .nz WHOIS servers costs computing
42
43   power, disrupts network transmissions, and otherwise interferes with technical infrastructure.
44
45                    c.     DNCL is likely to succeed on its claim that DomainTools violated the
46                           Washington Unfair Competition Law.
47
48            “To prevail on a CPA action, the plaintiff must prove an ‘(1) unfair or deceptive act or
49
50   practice; (2) occurring in trade or commerce; (3) public interest impact; (4) injury to plaintiff in
51

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 1   his or her business or property; [and] (5) causation.’” Klem v. Wash. Mut. Bank, 176 Wn.2d 771,
 2
 3   782 (2013) (citation omitted). All these elements are met here.
 4
 5            First, harvesting the registration data of individual registrants in bulk and retaining it
 6
 7   after the registrant has chosen to make that information private comprises an unfair act or
 8
 9   practice. To determine whether a practice or act is “unfair,” Washington courts are “guided by
10
11   federal law in the area.” Klem, 176 Wn.2d at 787. For example, courts have looked to the Federal
12
13   Trade Commission for guidance and considered:
14
15                    (1) whether the practice, without necessarily having been previously
16                    considered unlawful, offends public policy as it has been established
17                    by statutes, the common law, or otherwise—whether, in other
18                    words, it is within at least the penumbra of some common-law,
19                    statutory, or other established concept of unfairness; (2) whether it
20                    is immoral, unethical, oppressive, or unscrupulous; (3) whether it
21                    causes substantial injury to consumers (or competitors or other
22                    businessmen).
23
24   Magney v. Lincoln Mut. Sav. Bank, 34 Wn. App. 45, 57 (1983) (quoting Fed. Trade Comm’n v.
25
26   Sperry & Hutchinson Co., 405 U.S. 233, 244 n.5 (1972)); see also Klem, 176 Wn.2d at 787
27
28   (“Current federal law suggests a ‘practice is unfair [if it] causes or is likely to cause substantial
29
30   injury to consumers which is not reasonably avoidable by consumers themselves and not
31
32   outweighed by countervailing benefits.’” (quoting 15 U.S.C. § 45(n))). DomainTools’s practices
33
34   are likely to cause substantial injury to consumers—including approximately 715 Washington
35
36   consumers—by infringing their privacy rights and making publicly available information that
37
38   those consumers have chosen to withhold through the IRPO setting. See Carey Decl. ¶ 88; cf.
39
40   Ehling v. Monmouth-Ocean Hosp. Serv. Corp., 961 F. Supp. 2d 659, 668 (D.N.J. 2013)
41
42   (“Facebook wall posts that are configured to be private are, by definition, not accessible to the
43
44   general public [and thus covered by the Stored Communications Act]. . . [because] the
45
46   communicator took steps to keep [them] private.”); United States v. Devers, No. 12-CR-50-JHP,
47
48   2012 WL 12540235, at *2 (N.D. Okla. Dec. 28, 2012) (acknowledging that Facebook users
49
50   might have a reasonable expectation of privacy if they elect the most stringent privacy setting);
51

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 1   see also Veridian Credit Union v. Eddie Bauer, LLC, 295 F. Supp. 3d 1140, 1162 (W.D. Wash.
 2
 3   2017) (noting “the liberal construction the court applies to the CPA”).3
 4
 5            Second, DomainTools engages in this unfair act or practice for the purpose of providing
 6
 7   products and services to paying customers, and thus “in trade or commerce.” See RCW
 8
 9   19.86.010(2) (“‘Trade’ and ‘commerce’ shall include the sale of assets or services, and any
10
11   commerce directly or indirectly affecting the people of the state of Washington.”); Michael v.
12
13   Mosquera-Lacy, 165 Wn.2d 595, 602-03 (2009) (“The term ‘trade’ as used by the Consumer
14
15   Protection Act includes . . . the entrepreneurial or commercial aspects of professional services.”
16
17   (quoting Ramos v. Arnold, 141 Wn. App. 11, 20 (2007)).
18
19            Third, the nature of this action means that “the public was integrally involved because of
20
21   this essentially private dispute.” Nordstrom, Inc. v. Tampourlos, 107 Wn.2d 735, 742-43 (1987)
22
23   (holding that “confusion of the public, absent some unusual or unforeseen circumstances, will be
24
25   sufficient to meet the public interest requirement of the [Washington] Consumer Protection
26
27   Act”). This action is being brought by DNCL to, among other things, vindicate the policy
28
29   developed and implemented based on the input of consumers of .nz registry services and the
30
31   privacy and safety interests of individual registrants; it thus implicates the public interest.
32
33            Fourth and Fifth, DomainTools’s conduct has proximately caused injury to DNCL in its
34
35   business or property. As explained above, DomainTools is preventing DNCL from providing its
36
37   services in accordance with the TOU and IRPO implemented in response to privacy and safety
38
39   concerns raised by the people and businesses of New Zealand and other .nz registrants.
40
41   DomainTools is also diverting employee time, disrupting network transmissions and damaging
42
43   the .nz WHOIS technical infrastructure. Finally, as explained further below, DomainTools’s
44
45
46            3
                 Even if Washington consumers were not directly affected, Washington courts have recognized that a non-
47   resident can bring a CPA claim in cases like this where “Washington State has a strong interest in enforcing its laws
48   against its [own] businesses, lest the state ‘become a harbor for businesses engaging in unscrupulous practices out of
49   state.’” Rajagopalan v. NoteWorld, LLC, No. C11-05574BHS, 2012 WL 727075, at *5 (W.D. Wash. Mar. 6, 2012),
50   aff’d, 718 F.3d 844 (9th Cir. 2013) (quoting Schnall v. AT&T Wireless Servs. Inc., 171 Wn.2d 260, 287 (2011)
51   (Sanders, J., dissenting)).

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 1   activities are causing reputational harm and loss of goodwill to DNCL. See Nordstrom, 107
 2
 3   Wn.2d at 740 (noting that “loss of goodwill suffice[s]” to show injury to business or property).
 4
 5            2.      DNCL is currently suffering and will continue to suffer irreparable harm
 6                    without a preliminary injunction.
 7
 8            The second Winter factor requires a plaintiff to “demonstrate immediate threatened injury
 9
10   as a prerequisite to preliminary injunctive relief.” Caribbean Marine Servs. Co. v. Baldrige, 844
11
12   F.2d 668, 674 (9th Cir. 1988). “[E]conomic injury alone does not support a finding of irreparable
13
14   harm, because such injury can be remedied by a damage award.” Rent-A-Ctr., Inc. v. Canyon
15
16   Television & Appliance Rental, Inc., 944 F.2d 597, 603 (9th Cir. 1991).
17
18            DNCL is currently suffering and will continue to suffer irreparable harm absent a
19
20   preliminary injunction. Specifically, DomainTools is harming DNCL’s reputation and goodwill
21
22   in the New Zealand online community by disseminating the WHOIS information of .nz
23
24   registrants who elected to keep that information private, and by generally offering services in
25
26   violation of the TOU. Moreover, as discussed below, DomainTools is also undermining publicly
27
28   supported DNCL policies and diverting internal resources, thus frustrating DNCL’s
29
30   organizational mission. None of these harms can be remedied by a damage award; they can only
31
32   be remedied by preliminary and, ultimately, permanent injunctive relief.
33
34                    a.     DomainTools is causing irreparable harm to DNCL’s reputation and
35                           goodwill by depriving IRPO registrants of the privacy protection
36                           DNCL promised them.
37
38            First, if DomainTools is permitted to continue its activities, DNCL will continue to face
39
40   irreparable harm to its reputation and goodwill because it will be unable to implement the policy
41
42   supported by .nz users and unable to deliver on the promises it made to IRPO registrants.
43
44            The Ninth Circuit has consistently recognized that “loss of control over business
45
46   reputation and damage to goodwill can constitute irreparable harm.” adidas Am., Inc. v. Skechers
47
48   USA, Inc., 890 F.3d 747, 756 (9th Cir. 2018) (alterations omitted) (quoting Herb Reed Enters.,
49
50   LLC v. Fla. Entm’t Mgmt., Inc., 736 F.3d 1239, 1250 (9th Cir. 2013)). It has also specifically
51

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 1   recognized that a third party can damage an entity’s reputation and goodwill by wrongfully
 2
 3   interfering with its contractual obligations.
 4
 5            For example, in Disney Enterprises, Inc. v. VidAngel, Inc., 869 F.3d 848 (9th Cir. 2017),
 6
 7   the defendant operated an unauthorized online streaming service that censored movies and
 8
 9   television shows. Disney and other plaintiffs sued under the Digital Millennium Copyright Act.
10
11   The district court granted a preliminary injunction, and the Ninth Circuit affirmed, on the ground
12
13   that “VidAngel’s service undermine[d the Studios’] negotiating position . . . and also damage[d]
14
15   goodwill with licensees, because it offer[ed] the Studios’ works during negotiated ‘exclusivity
16
17   periods.’” Id. at 865 (internal quotation marks omitted). In other words, VidAngel irreparably
18
19   harmed Disney’s reputation by making it impossible for Disney to deliver on its promises.
20
21            A similar rationale was approved in Ticketmaster L.L.C. v. RMG Techs., Inc., 507 F.
22
23   Supp. 2d 1096 (C.D. Cal. 2007), where Ticketmaster alleged that its competitor, RMG,
24
25   developed and used automated devices to access Ticketmaster’s website and purchase tickets en
26
27   masse. As here, this activity violated the website’s terms of use and several state and federal
28
29   laws, see id. at 1102, and, as in Disney, the district court found irreparable harm to reputation due
30
31   to interference with contractual promises. Specifically, Ticketmaster’s terms of use assured
32
33   customers that they were all on a level playing field, and that tickets could not be purchased en
34
35   masse by sophisticated entities. But RMG’s activities in violation of the terms of use made it
36
37   impossible for Ticketmaster to deliver on these promises. Ticketmaster showed “that it [was]
38
39   suffering a loss of goodwill with the buying public [due to] a growing public perception that
40
41   [Ticketmaster did] not provide the public with a fair opportunity to buy tickets due to automated
42
43   purchases.” Id. at 1114. The court relied on this showing of harm to preliminarily enjoin RMG
44
45   from making automated purchases in violation of Ticketmaster’s terms of use.
46
47            The situation is the same in this case. Over the past few years, Internet users in New
48
49   Zealand have voiced intense concern about dissemination of WHOIS information—specifically
50
51   citing privacy and safety concerns—and have demanded a change to .nz policies. See Carey

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 1   Decl. Ex. 23. DNCL responded by implementing the IRPO, which assures eligible registrants
 2
 3   that their detailed contact information will be not be accessible absent a specific, justified request
 4
 5   for that information. Yet registrants are not receiving that benefit. Instead, they are subjected to
 6
 7   continued publication of their detailed contact information, which was collected by DomainTools
 8
 9   en masse and compiled in violation of the TOU. And to make matters worse, rather than
10
11   apologizing for its wrongful profiteering, DomainTools continues to boast about how it has
12
13   unraveled the “cloak[] [of] privacy” offered by the IRPO. Hinnen Decl. at Ex. 9. In sum, like
14
15   VidAngel and RMG, DomainTools is harming DNCL’s reputation and goodwill by selling
16
17   services that undermine the promises made to IRPO registrants.
18
19                    b.     DomainTools is causing DNCL to suffer irreparable harm to its
20                           reputation and goodwill because .nz registrants are not receiving the
21                           general protections promised in the TOU.
22
23            In addition to undermining DNCL’s ability to deliver on the specific promises made to
24
25   IRPO registrants, DomainTools is undermining DNCL’s ability to deliver on the general
26
27   promises made to all registrants through the TOU.
28
29            DNCL has implicitly promised all .nz registrants (1) that only current WHOIS
30
31   information will be made publicly available, and (2) that WHOIS information can only be
32
33   accessed via specific, individualized queries; not via mass, systematic queries. These terms are
34
35   material to registrants’ decisions regarding whether to register their domain with .nz or with
36
37   another registry.
38
39            Registrants are more likely to register a .nz website because (1) they are promised that
40
41   WHOIS information will no longer be available once a domain becomes inactive, and (2) they
42
43   are promised that sophisticated entities cannot collect WHOIS information en masse and compile
44
45   it for commercial use. Conversely, if these assurances do not exist, then registrants are more
46
47   likely to use another registry, such as “.com,” which allows registrants to use a proxy service. (A
48
49   proxy service allows registrants to use the contact information of a designated entity instead of
50
51   their own.) These services are not allowed with respect to .nz domains, in part because DNCL

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 1   believes registrants are sufficiently protected by its TOU. As shown through public comments, if
 2
 3   DomainTools continues to subvert DNCL’s TOU, registrants may prefer to use other registers.
 4
 5   See Carey Decl. ¶ 76(a) (“Had I known this, I would NOT have bought [a .nz] domain name.”);
 6
 7   id. ¶ 76(d) (“I have a .com website and they manage to keep our details private . . . .”).
 8
 9            The TOU are thus material to .nz registrants. And because they are material, DNCL faces
10
11   irreparable harm to its reputation and goodwill if DomainTools is allowed to continually
12
13   undermine them and offer services based on information registrants have chosen to withhold.
14
15            The Second Circuit has affirmed preliminary injunctive relief in a remarkably similar
16
17   situation. See Register.com, Inc., 356 F.3d 393. Like DNCL, Register.com offered free WHOIS
18
19   services. And like DNCL, its terms of use specifically prohibited “high volume, automated,
20
21   electronic processes,” and “[t]he compilation, repackaging, dissemination or other use of
22
23   [WHOIS information].” Id. at 420 (Parker, J., draft opinion). Register.com filed suit against
24
25   Verio for violating these provisions, and the trial court granted a preliminary injunction. Id. at
26
27   396. The Second Circuit affirmed, agreeing that Verio was bound by the terms of use and that
28
29   Register.com would face irreparable harm if Verio were permitted to continue ignoring the above
30
31   restrictions. The court cited both immediate, direct harm via “the loss of Register.com’s
32
33   relationships with customers and co-brand partners” due to Verio’s violation of the various terms
34
35   of use, and the possibility of future harm to server capacity if other service providers followed
36
37   Verio’s lead and submitted mass queries in violation of the terms of use. See id. at 404.
38
39            DNCL faces immediate and direct harm to its reputation and goodwill for similar reasons
40
41   here. Moreover, DNCL faces the prospect of exacerbated harm in the future. If DomainTools
42
43   continues its unauthorized access and use, then other Internet service providers may follow suit,
44
45   and registrants will (correctly) conclude that DNCL has completely lost the ability to control
46
47   access and use of the WHOIS information on its website.
48
49            The Ninth Circuit has affirmed preliminary injunctions based on much less severe
50
51   reputational harm than this. For example, in Regents of University of California v. American

                                                                                         Perkins Coie LLP
                                                                                    1201 Third Avenue, Suite 4900
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 1   Broadcast Companies, Inc., 747 F.2d 511, 520 (9th Cir. 1984), it affirmed a trial court’s
 2
 3   determination that the University of Nebraska and the University of Notre Dame could cause
 4
 5   irreparable harm to the University of Southern California (“USC”) by refusing to allow
 6
 7   basketball games between these schools to be broadcast. The Ninth Circuit accepted that this
 8
 9   refusal could lead to severe reputational harm even though it only applied to basketball—as
10
11   opposed to other athletic programs; and even though it only applied to two universities—as
12
13   opposed to all of USC’s competitors. See id. at 520. If a well-rounded institution like USC could
14
15   suffer a “palpable diminution in [its] national reputation” due to such a minor slight, then it goes
16
17   without saying that a single-mission entity like DNCL will suffer irreparable reputational harm if
18
19   DomainTools is permitted to undermine the TOU designed to protect .nz registrants.
20
21                    c.     DomainTools is causing DNCL irreparable harm because it will be
22                           forced to divert internal resources away from its organizational
23                           mission to police and prevent DomainTools’s unauthorized activity.
24
25            In addition to affirming preliminary injunctive relief based on reputational harm, the
26
27   Ninth Circuit has also affirmed relief on the ground that a nonprofit organization is irreparably
28
29   harmed when its “ability to carry out [its] mission[]” is “impaired.” See Valle del Sol Inc. v.
30
31   Whiting, 732 F.3d 1006, 1018 (9th Cir. 2013).
32
33            In Valle del Sol, a church, its pastor, and its staff members sued the State of Arizona,
34
35   arguing that a state statute—which prohibited illegally concealing, harboring, shielding, or
36
37   transporting an alien in Arizona in furtherance of the alien’s unlawful presence in the United
38
39   States—was unconstitutionally vague. The trial court and the Ninth Circuit agreed that the
40
41   plaintiffs were likely to succeed on the merits of this claim and would suffer irreparable harm
42
43   absent an injunction. Among other things, the church would lose volunteers who feared
44
45   prosecution under the statute and be “required to divert resources to educate its members [about
46
47   the statute] and counteract this frustration of its mission.” Id. at 1018.
48
49            Similarly here, DNCL has been “perceptibly impaired” in its “ability to carry out [its]
50
51   mission[],” id., because it has been forced to allocate organizational time and leadership to try to

                                                                                          Perkins Coie LLP
                                                                                     1201 Third Avenue, Suite 4900
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 1   stay one step ahead of DomainTools. Specifically, DNCL has been forced to modify the Port 43
 2
 3   command line query, refine its rate-limiting measures, send demand letters, and travel to Seattle
 4
 5   to meet with DomainTools. Carey Decl. ¶¶ 19, 71, 93-94. All this time and energy would be
 6
 7   better spent carrying out DNCL’s organizational mission—which is to administer and manage
 8
 9   .nz domain names and serve New Zealand Internet users. Once again, DNCL faces the prospect
10
11   of continuing irreparable harm absent a preliminary injunction.
12
13            3.      The balance of equities tips sharply towards DNCL.
14
15            The third Winter factor requires this court to “balance the interests of all parties and
16
17   weigh the damage to each.” See L.A. Mem’l Coliseum Comm’n v. Nat’l Football League, 634
18
19   F.2d 1197, 1203 (9th Cir. 1980). Ordinarily, the party seeking an injunction need only show the
20
21   injunction would “do more good than harm.” All. for the Wild Rockies v. Cottrell, 632 F.3d 1127,
22
23   1133 (9th Cir. 2011). But where a party has only shown serious questions concerning the merits
24
25   of a claim, under the sliding scale variant of the Winter standard, the party must show the
26
27   “balance of hardships tips sharply in [its] favor.” Pena, 865 F.3d at 1217 (emphasis omitted).
28
29            DNCL meets either standard. As demonstrated above, DNCL faces continuing irreparable
30
31   harm to its reputation, goodwill, and organizational mission because .nz individual registrants are
32
33   being deprived of the data protection that they requested and have been promised. The severity
34
35   of this harm has been made clear above.
36
37            Conversely, DomainTools will suffer either no harm or very limited pecuniary harm.
38
39   DNCL has only asked this Court to enjoin DomainTools from violating the TOU by offering the
40
41   offending services for .nz domains.4 If DNCL succeeds in its claims, DomainTools is not harmed
42
43   because it had no right to offer these services in the first place. See Triad Sys. Corp. v. Se.
44
45
46
47
48
49            4
               In its complaint, DNCL also demands that DomainTools delete all historical .nz WHOIS records obtained
50   and stored in violation of the .nz WHOIS TOU. But for now, a cessation of continuing activities will prevent further
51   harm pending a final judgment. See Perfect 10, Inc. v. Google, Inc., 653 F.3d 976, 981-82 (9th Cir. 2011).

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 1   Express Co., 64 F.3d 1330, 1338 (9th Cir. 1995) (“[L]ost profits from an activity which has been
 2
 3   shown likely to be [unlawful] . . . merit[] little equitable consideration.”).
 4
 5            But even if DomainTools ultimately prevails, it would suffer very limited harm.
 6
 7   Specifically, it would suffer only the loss of profits that it would have otherwise earned by
 8
 9   offering the offending services with respect to .nz domains. To put the effect in perspective—
10
11   DomainTools maintains more than 200 times as many records about commercial domain names
12
13   hosted on a United States register as about any domain names hosted on the New Zealand
14
15   register. Hinnen Decl. at Ex. 11. The effect of an injunction on DomainTools’s global domain
16
17   services would therefore be largely imperceptible. And more significantly, unlike the harm
18
19   suffered by DNCL, such harm could be easily remedied after the fact through a monetary award.
20
21            The balance of equities thus tips—sharply or otherwise—in DNCL’s favor.
22
23            4.      A preliminary injunction is in the public interest.
24
25            The final Winter factor instructs that, if preliminary relief would “reach[] beyond the
26
27   parties, carrying with it a potential for public consequences,” Boardman v. Pac. Seafood Grp.,
28
29   822 F.3d 1011, 1023–24 (9th Cir. 2016) (quoting Stormans, Inc. v. Selecky, 586 F.3d 1109, 1139
30
31   (9th Cir. 2009)), then the court must consider whether preliminary relief is in the public interest.
32
33   Here, preliminary relief would both reach beyond the parties and be in the public interest.
34
35            Most obviously, preliminary relief would affect non-party .nz registrants and
36
37   DomainTools customers. The interests of these third parties largely mirror those of the parties.
38
39   On the one hand, if a preliminary injunction is not granted, .nz registrants face continued
40
41   unauthorized access and use of their personal WHOIS information. Surveys conducted for the
42
43   New Zealand Office of Privacy Commissioner have confirmed that many New Zealand residents
44
45   (who are the majority of .nz registrants) are concerned about unfettered online dissemination of
46
47   their personal information—especially their contact information. Carey Decl. at Ex. 23.
48
49            On the other hand, if a preliminary injunction is granted, DomainTools’s customers will
50
51   be unable to purchase the offending services with respect to .nz domains. As discussed above,

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                                                                                      1201 Third Avenue, Suite 4900
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 1   this outcome will not adversely affect their interests at all if DNCL succeeds in the underlying
 2
 3   litigation—as is likely. Moreover, even in the unlikely event that DNCL fails, a wrongful
 4
 5   injunction would amount to little more than an apparent inconvenience for DomainTools’s
 6
 7   customers. Such customers could still obtain current .nz WHOIS information (minus information
 8
 9   withheld pursuant to the IRPO) through DNCL’s website and, when appropriate, historical and
10
11   withheld .nz WHOIS information by making a request to DNCL. Id. ¶¶ 42-51. The information
12
13   regarding .nz registrants available through DNCL is more current and accurate than that
14
15   available through DomainTools, which continues to publish historical (and therefore potentially
16
17   outdated) information. DomainTools’s customers, including law enforcement and other public
18
19   interest organizations, will receive more accurate information (for free and without violating the
20
21   TOU) through DNCL, which will lead to more fruitful investigations and fewer spurious claims
22
23   based on outdated and inaccurate information against current and former .nz registrants.
24
25            But preliminary relief would reach even further beyond the parties: The decision to grant
26
27   or deny a preliminary injunction affects the global Internet community.
28
29            This action has been brought at a pivotal moment in public discourse. The world has
30
31   changed drastically over the last twenty years since WHOIS information first became available,
32
33   and the public has grown increasingly concerned about unfettered access to private personal
34
35   information online. The European Union passed the European General Data Protection
36
37   Regulation (“GDPR”) to address these very concerns—broadly prohibiting companies from
38
39   publishing online identifying information collected from EU citizens in EU member states absent
40
41   prior express consent. Many registries have in turn responded to the GDPR by revising their
42
43   terms of use to limit access to personal WHOIS information. Hinnen Decl. ¶ 12, Ex. 11.
44
45            Similarly, although ICANN has historically required all accredited registries and
46
47   registrars to make WHOIS information publicly available, it has responded to the shift in public
48
49   opinion by taking steps to increase control over the public disclosure of WHOIS information.
50
51   Specifically, ICANN has adopted an interim “tiered access” model, which would restrict access

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                                                                                   1201 Third Avenue, Suite 4900
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 1   to detailed WHOIS information to those approved through a special accreditation process. Id. In
 2
 3   other words, ICANN hopes to essentially press the “reset” button on the public availability of
 4
 5   personal WHOIS information and implement a regime very like that currently offered by DNCL.
 6
 7            DomainTools’s offending services could vitiate these efforts. If courts are not willing to
 8
 9   bind DomainTools to the TOU to which it agreed, then DomainTools can simply rely on its
10
11   secondary registry to recreate and publicize records that ICANN and other Internet actors are
12
13   working to protect. Ironically, DomainTools would reap the benefits of its unlawful conduct,
14
15   becoming a rare or sole source of private registrant information that registrants and registries
16
17   have chosen not to make publicly available. DNCL is therefore not the only organization that
18
19   would benefit from a preliminary injunction here. Instead, the entire global Internet community
20
21   benefits from an order holding DomainTools to its contractual obligations and honoring the
22
23   choice .nz registrants have made to protect their private information.
24
25   B.       No bond should be required.
26
27            Federal Rule of Civil Procedure 65(c) requires, as a condition to issuance of a
28
29   preliminary injunction, that the Court require the applicant to provide security “in an amount that
30
31   the court considers proper to pay the costs and damages sustained by any party found to have
32
33   been wrongfully enjoined or restrained.” Where, as here, the plaintiff is likely to prevail on the
34
35   merits and there is no likelihood of harm to the defendant from issuance of a preliminary
36
37   injunction, the Court has broad discretion to require no bond or other security. Cal. ex rel. Van
38
39   De Kamp v. Tahoe Reg’l Planning Agency, 766 F.2d 1319, 1325-26 (9th Cir. 1985).
40
41            As demonstrated above, DNCL is likely to succeed on its claims due to DomainTools’s
42
43   continued and brazen violation of its TOU. DNCL also faces the prospect of irreparable harm to
44
45   its reputation, goodwill, and nonprofit mission if preliminary relief is not granted; while if it is
46
47   granted, DomainTools faces, at most, only minor loss of profits. In light of this sharply tipped
48
49   balance of equities and the strong public interest in holding DomainTools to its contractual
50
51   obligations to safeguard personal .nz WHOIS information, no bond should be required.

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 1                                        IV.     CONCLUSION
 2
 3            For the foregoing reasons, DNCL respectfully requests that its motion for a preliminary
 4
 5   injunction be granted.
 6
 7            RESPECTFULLY SUBMITTED this 15th day of June, 2018.
 8
 9                                                       s/ Todd M. Hinnen
10                                                       Todd M. Hinnen, WSBA No. 27176
11                                                       Erin K. Earl, WSBA No. 49341
12
                                                         Anna Mouw Thompson, WSBA No. 52418
13
                                                         Attorneys for Plaintiff Domain Name
14
                                                         Commission Limited
15
                                                         Perkins Coie LLP
16
                                                         1201 Third Avenue, Suite 4900
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                                                         Seattle, WA 98101-3099
18
                                                         Telephone: 206.359.8000
19
                                                         Facsimile: 206.359.9000
20
                                                         Email: THinnen@perkinscoie.com
21
                                                                   EEarl@perkinscoie.com
22
                                                                   AnnaThompson@perkinscoie.com
23
24
                                                         Attorneys for Plaintiff
25
                                                         Domain Name Commission Limited
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                                                                                       Perkins Coie LLP
                                                                                  1201 Third Avenue, Suite 4900
     DNCL’S MOTION FOR PRELIMINARY                                                  Seattle, WA 98101-3099
     INJUNCTION (NO. 2:18-CV-874) – 25                                                Phone: 206.359.8000
                                                                                       Fax: 206.359.9000
     39655561.8
                   Case 2:18-cv-00874-RSL Document 2 Filed 06/15/18 Page 32 of 32




 1                                     CERTIFICATE OF SERVICE
 2
 3            I certify under penalty of perjury that on June 15, 2018, I electronically filed the
 4
 5   foregoing PLAINTIFF DOMAIN NAME COMMISSION LIMITED’S MOTION FOR
 6
 7   PRELIMINARY INJUNCTION and served the same by the method(s) indicated below.
 8
 9
10
11    Jacob Heath                                         _X_    Via hand delivery
12    Aravind Swaminathan                                 ___    Via U.S. Mail, 1st Class, Postage Prepaid
13    Orrick, Herrington & Sutcliffe, LLP                 ___    Via Overnight Delivery
14    701 5th Ave                                         ___    Via Facsimile
15    Suite 5600                                          ___    Via Email
16    Seattle, WA 98104                                   ___    Other: ___________________
17
18    Attorneys for Defendant DomainTools, LLC
19
20
21
22            DATED this 15th day of June, 2018.
23
24                                                         s/ Todd M. Hinnen
25                                                         Todd M. Hinnen, WSBA No. 27176
26                                                         Attorneys for Domain Name Commission
27                                                         Limited
28                                                         Perkins Coie LLP
29                                                         1201 Third Avenue, Suite 4900
30                                                         Seattle, WA 98101-3099
31                                                         Telephone: 206.359.8000
32                                                         Facsimile: 206.359.9000
33                                                         E-mail: THinnen@perkinscoie.com
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     CERTIFICATE OF SERVICE
                                                                                         Perkins Coie LLP
     (NO. 2:18-CV-874) – 1                                                          1201 Third Avenue, Suite 4900
     139655561.8                                                                      Seattle, WA 98101-3099
                                                                                        Phone: 206.359.8000
                                                                                         Fax: 206.359.9000
